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                                       U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                     86 Chambers Street
                                                     New York, New York 10007

                                                     June 13, 2024

By ECF
Honorable Michelle L. Peterson
United States Magistrate Judge
Western District of Washington
United States Courthouse
700 Stewart Street, Suite 12232
Seattle, WA 98101-9906

       Re:     Amazon.com Service LLC v. U.S. Dept. of Justice, et al., C22-1815-JCC-MLP

Dear Judge Peterson:

        This Office represents the United States (the “Government”) in the above-referenced
matter. On June 11, the Court entered a Minute Order providing “one more extension for the
parties to continue their negotiations regarding the original subpoenas” and directing that a joint
status report be submitted by July 12, 2024, addressing whether this action should be dismissed.
ECF No. 94, at 1–2 (emphasis in original). We write to clarify that the Government is not seeking
any additional documents from Amazon pursuant to the original subpoenas, and the parties
therefore are not engaged in any negotiations regarding those subpoenas. As the Government
noted in the parties’ joint status report of May 31, Amazon has taken the position that the
Government’s remaining requests fall outside the original subpoenas; accordingly, the
Government intends to issue a new subpoena. We failed to state expressly in the joint letter that
the Government is not seeking any further documents pursuant to the original subpoenas.

       We thank the Court for its attention to this matter.

                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney
                                                     Southern District of New York

                                              By:    /s/ Adam Gitlin
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